     Case
      B2100A18-30176-SLM
            (Form 2100A) (12/15)     Doc 85       Filed 08/18/22 Entered 08/18/22 08:54:55                      Desc Main
                                                 Document      Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT
                                              District of New Jersey (Newark)
     IN RE:                                                     Case No:                    18-30176
                                                                Loan Number (Last 4):       2526
     Debtors: April M Paul
                                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY

      A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
      evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
      referenced in this evidence and notice.
     Federal Home Loan Mortgage Corporation, as Trustee
     for the benefit of the Freddie Mac Seasoned Loans
     Structured Transaction Trust, Series 2022-2                    Specialized Loan Servicing LLC
     Serviced by Select Portfolio Servicing, Inc.
                         Name of Transferee                                              Name of Transferor

     Name and Address where notices to transferee should be
     sent:

              PO Box 65250                                          Court Claim # (if known):          8
              Salt Lake City, UT 84165                              Amount of Claim:                   $231,528.46
                                                                    Date Claim Filed:                  12/07/2018
                                                                    Last Four Digits of Acct #:        6255
     Phone:                      1-800-258-8602
     Last Four Digits of Acct #: 2526
     Name and Address where transferee payments should be
     sent (if different from above):


              Select Portfolio Servicing, Inc.
              Attn: Remittance Processing
              PO Box 65450
              Salt Lake City, UT 84165-0450


     Phone:                      1-800-258-8602
     Last Four Digits of Acct #: 2526


        I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
        knowledge and belief.

       By:       /s/ John Shelley                                    Date: 08/17/2022
                 InfoEx, LLC, as authorized filing agent
                  (Approved by: Kiara Richardson)

       Specific Contact Information:
       Kiara Richardson - BK Specialist
       Phone: 1-800-258-8602




       Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
       152 & 3571.


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